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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION




 BERNADETTE CLYBURN,

                        Plaintiff,
                                                      Case No. 1:21-cv-05251
         v.

 FORD MOTOR COMPANY,
                                                      Honorable Matthew F. Kennelly
                        Defendant.                    Honorable Jeffrey T. Gilbert




         DEFENDANT FORD MOTOR COMPANY’S MOTION TO STRIKE
     PLAINTIFF’S COMPLAINT AND REQUEST FOR A STATUS CONFERENCE

       Defendant Ford Motor Company respectfully moves this Court to strike pro se Plaintiff

Bernadette Clyburn’s complaint (Dkt. 2), and to schedule a status conference to discuss Plaintiff

Clyburn’s orderly filing of an individual complaint. The complaint that Plaintiff Clyburn has filed

to initiate this action is a verbatim copy of the original complaint in a different case pending before

another judge of this Court. See Van et al. v. Ford Motor Co., No. 14-cv-8708 (N.D. Ill.) (“Van”)

(Pacold, J.). Because the allegations in that complaint do not even mention Ms. Clyburn by name,

because the complaint does not even include Ms. Clyburn as a plaintiff in the case caption, and

because the complaint includes class allegations where class certification has already been denied

(twice), this Court should strike the complaint and set a status conference to govern further

proceedings. Ford, of course, has no objections to Ms. Clyburn filing a complaint, but it should

not be this one, which is simply not applicable or informative as to Ms. Clyburn.
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       1.       The Van case was first filed by four Named Plaintiffs—not including Ms.

Clyburn—on November 3, 2014. See Van Dkt. 5. Ms. Clyburn became a Named Plaintiff in Van

on May 1, 2015. See Van Dkt. 29. The current, operative complaint in Van is the 194-page Second

Amended Complaint (“SAC”), which was filed on April 19, 2016. See Van Dkt. 59. The SAC

asserts claims on behalf of various Van Plaintiffs, not just Ms. Clyburn, and is drafted as a putative

class action complaint.

       2.       After the Court denied the Van Plaintiffs’ second motion for class certification, Van

Dkt. 418, Ms. Clyburn terminated her relationship with her original counsel, Van Dkt. 594, and

was assigned settlement counsel through the Court’s Settlement Assistance Program (“SAP”), Van

Dkt. 600.

       3.       Magistrate Judge Cummings supervised a settlement conference between Ford, Ms.

Clyburn, and her SAP counsel on September 8, 2021, Van Dkt. 653, but the parties were unable to

reach a settlement.

       4.       On October 4, 2021, Judge Pacold entered an order, severing Clyburn’s individual

claims against Ford from those of the other Plaintiffs in Van. Van Dkt. 658. Ms. Clyburn’s case

was subsequently reassigned to this Court. Dkt. 1.

       5.       On October 7, 2021, Clyburn filed, unprompted by Court order, a complaint in this

case. Dkt. 2.

       6.       Clyburn’s complaint is a verbatim copy of the original putative class action

complaint in Van. See Van Dkt. 5. Again, that complaint was filed on behalf of four Named

Plaintiffs—not Ms. Clyburn—and nowhere does the Complaint even mention Ms. Clyburn.

       7.       In light of the foregoing, Ford respectfully requests that the Court schedule a status

conference and set a schedule for Ms. Clyburn to file an individual complaint that sets forth her



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claims against Ford.

       8.      In the Van SAC, Clyburn asserted claims against Ford for (1) sexual harassment in

violation of Title VII; (2) sex discrimination in violation of Title VII; (3) race discrimination in

violation of 42 U.S.C. § 1981 (“Section 1981”); (4) retaliation under Title VII and Section 1981;

(5) common law assault; and (6) intentional infliction of emotion distress (previously dismissed

by the Court and preserved for appeal purposes only).

       9.      In the meantime, the Court should strike Clyburn’s complaint because it does not

contain any references to Ms. Clyburn, and is replete with putative class allegations that are

irrelevant to Clyburn’s individual claims (and have been rendered moot through the twice-denial

of class certification in Van). Under Federal Rule of Civil Procedure 12(f), “the court may strike

from a pleading an insufficient defense or any redundant, immaterial, impertinent, or scandalous

matter.” Fed. R. Civ. P. 12(f). Motions to strike are appropriately “used to expedite a case by

remov[ing] unnecessary clutter,” Top Tobacco, L.P. v. Good Times USA, LLC, No. 14-CV-8978,

2017 WL 395698, at *2 (N.D. Ill. Jan. 30, 2017) (citation and quotation marks omitted), or

“remove irrelevant issues from consideration,” NewNet Commc’n Techs., LLC v. VI E-Cell

Tropical Telecom, Ltd., 2015 WL 1520375, at *3 (N.D. Ill. Mar. 30, 2015), that “unnecessarily

muddle the present proceedings,” Braun v. CDW LLC, 2013 WL 1499031, at *3 (N.D. Ill. Apr.

10, 2013) (striking pro se complaint in its entirety and granting leave to amend).

       10.     For the foregoing reasons, Ford respectfully requests the Court strike the complaint

and schedule a status conference to set a deadline by which Ms. Clyburn must file a complaint

setting forth her own individual claims against Ford.




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DATED: October 21, 2021

                                            Respectfully submitted,

                                            /s/ Katherine V.A. Smith
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                                CERTIFICATE OF SERVICE

      I hereby certify that on this 21st day of October, 2021, I electronically filed the foregoing

with the clerk of the court by using the CM/ECF system. I further certify that on this same date, a

true and correct copy of the foregoing Motion to Strike Plaintiff’s Complaint and Request for a

Status Conference has been sent by third party commercial carrier for overnight delivery and

properly addressed to the name and address listed below:

      Bernadette Clyburn
      5278 Platinum Drive
      Lowell, IN 46356
      219-680-6105



                                             /s/ Katherine V.A. Smith
                                             Counsel for Ford Motor Company




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